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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 SONIA MARIA MOLINA, ET AL.,

      Plaintiffs,
                                                   CIVIL NO. 14-1599 (PG)
             v.

 U.S. POSTAL SERVICE, ET AL.,

      Defendants.


                                        JUDGMENT

     WHEREFORE,         having   the   parties   stipulated   the   dismissal      with
prejudice   of    the    above-captioned   case,   the   Court   hereby   ORDERS   AND
ADJUDGES that the complaint be, and hereby is DISMISSED WITH PREJUDICE.
In accordance with the parties’ stipulation, each party shall bear its
own costs and attorney’s fees. Moreover, the parties have agreed that the
Court will retain jurisdiction until the terms and conditions of the
stipulation are implemented and fully complied with.

     IT IS SO ORDERED AND ADJUDGED.

     In San Juan, Puerto Rico, June 27, 2016.


                                                    S/ JUAN M. PÉREZ-GIMÉNEZ
                                                    JUAN M. PEREZ-GIMENEZ
                                                    SENIOR U.S. DISTRICT JUDGE
